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                                                      May 31, 2023

VIA ECF
The Honorable Lorna G. Schofield, United States District Judge
United States District Court for the Southern District of New York
Thurgood Marshall United States Courthouse
40 Foley Square
New York, New York 10007

       RE: Wentworth Management Services, LLC v. Beckingham, No. 23 Civ. 2660

Dear Judge Schofield:

       My firm represents Plaintiff “Wentworth” Management Services, LLC in the
above-captioned “Action” and writes in response to “Defendants’” pre-motion letter.
See Dkt. 16 (May 23, 2023) (“PML”). Defendants’ refusal to analyze the Complaint’s
actual allegations betrays the baselessness of their Rule 12(b) Motions. Compare
generally PML; with Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009) (in analyzing Rule 12
motions, the court should “assume the[] veracity” of “well-pleaded factual allegations”
“and then determine whether they plausibly give rise to an entitlement to relief.”).

       In its Complaint, Wentworth alleges that Defendants have initiated two “FINRA
Arbitrations” against non-party “Cabot” Lodge Securities, LLC, which Wentworth
indirectly owns. Dkt. 1 ¶¶ 1–5 (Mar. 30, 2023) (“Complaint” or “Compl.”). In early
2023, Defendants moved to add Wentworth as a respondent in the FINRA Arbitrations,
arguing that Wentworth was a Cabot “control person” as defined by the securities laws.
Compl. ¶¶ 6, 38. Despite Defendants’ desperation to pursue what they apparently
believe to be a deep pocket, “Wentworth is not a ‘control person’ of Cabot or any other
FINRA member.” Id. ¶ 10. Wentworth “has never exercised any functional control over
Cabot,” “directed Cabot’s day-to-day decision-making,” nor “Cabot’s high-level
strategy.” Id. ¶¶ 41–43. Wentworth does not employ or compensate Cabot, and is not a
direct shareholder or LLC member of Cabot. Id. ¶ 45–46, 48. While Wentworth is twice-
removed from Cabot ownership, that attenuated LLC interest does not make it a
“control person” of Cabot. Id. ¶¶ 47, 49.
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        At the March 8, 2023 FINRA oral argument on those motions, Defendants’
counsel—who represent Defendants in this federal Action, as well— stated their
intention to sue Wentworth in federal court, and admitted that “Wentworth had never
agreed to arbitrate any matter with Defendants, and that FINRA had no jurisdiction to
hale Wentworth into arbitration.” Id. ¶ 7; see also id. ¶ 9 (“Defendants have repeatedly
stated that they will sue Wentworth in federal court unless Wentworth voluntarily
submits itself to the two FINRA Arbitrations.”); id. ¶ 39 (“Defendants have threatened
that they will sue Wentworth in federal court and allege Exchange Act ‘control person’
liability unless Wentworth voluntarily submits itself to both FINRA Arbitrations.’”).
Therefore, Wentworth has sued for declaratory judgment that it is not a “control
person” of Cabot as defined in the Securities Exchange Act of 1934, and for a permanent
injunction staying both Arbitrations against Wentworth. Id. ¶¶ 11, 54, 60.

        Although Defendants organize their PML as if they are asserting three separate
arguments for Rule 12(b) dismissal, their first and third arguments—that the Complaint
fails to plead subject matter jurisdiction or state a claim—both rest on their assumption
that Wentworth is “simply wrong on the facts” because Defendants threaten to sue
Wentworth for being a “control person” as defined by “state [Colorado] law,” not as
defined by the federal Exchange Act. PML at 2, 3; but see Chan v. HEI Resources, Inc.,
512 P.3d 120, 127 (Colo. 2022) (observing that Colorado law requires courts to
“coordinate[]” their interpretations of the Colorado Securities act with federal securities
law, and that the Colorado Supreme Court “ha[s] consistently recognized that” “federal
authorities are highly persuasive”).; cf. Franchise Tax Bd. v. Constr. Laborers Vacation
Tr., 463 U.S. 1, 22 (1983) (citation omitted) (“[A] plaintiff may not defeat removal by
omitting to plead necessary federal questions in a complaint.”). Even if Defendants’
arguments could trump Wentworth’s allegations—they cannot—Defendants’
distinction makes no difference: the federal securities and Colorado securities laws
identically define “control person.” Stat-Tech Liquidating Tr. v. Fenster, 981 F. Supp.
1325, 1336–37 (D. Colo. 1997).

       But Defendants’ disagreement with the Complaint’s underlying facts is no basis
for 12(b)(1) or 12(b)(6) dismissal: in analyzing either motion, this Court must “constru[e]
the complaint in [Wentworth’s] favor and accept[] as true all material factual allegations
contained therein.” Katz v. Donna Karan Co., 872 F.3d 114, 118 (2d Cir. 2017) (Rule
12(b)(1)); Ashcroft v. Iqbal, 556 U.S. 662, 667 (2009) (Rule 12)(b)(6)). And while federal
courts generally may consider outside materials to resolve disputed jurisdictional facts,
if—as Defendants argue in the PML—“resolution of the jurisdictional question is
intertwined with the merits of the case,” the Court should allow the parties to pursue
jurisdictional discovery. Redmond v. United States, 934 F.2d 1151, 1155 (10th Cir. 1991)
(converting fact-based 12(b)(1) motion into Rule 56 motion); accord Katz, 872 F.3d at 121
(quoting Amidax Trading Grp. v. S.W.I.F.T. SCRL, 671 F.3d 140, 149 (2d Cir. 2011) (per
curiam)) (“[P]recisely because the plaintiff bears the burden of alleging facts
demonstrating standing, we have encouraged district courts to ‘give the plaintiff ample
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opportunity to secure and present evidence relevant to the existence of jurisdiction’
where necessary.”).

        Defendants also misrepresent the Declaratory Judgment Act’s (“DJA”) purpose,
application, and caselaw. Compare PML at 2 (purporting to cite Dow Jones & Co. v.
Harrods, 346 F.3d 357, 359–60 (2d Cir. 2003) (arguing that Dow Jones “explain[s] that
whether an action appears to be ‘procedural fencing’ weighs against exercising
jurisdiction”) with Dow Jones, 346 F.3d at 359–60 (the Second Circuit’s “simple test[]
asks (1) whether the judgment will serve a useful purpose in clarifying or settling the
legal issues involved; and (2) whether a judgment would finalize the controversy and
offer relief from uncertainty,” and rejecting appellant’s argument that the district court
should have more strongly weighed other circuits’ factors, including “procedural
fencing.”). By alleging that Defendants have “threatened” to baselessly sue them in
federal court, Wentworth has more than satisfied the DJA’s requirements. See
MedImmune, Inc. v. Genentech, Inc., 549 U.S. 118, 133 (2007) (quoting Willing v.
Chicago Auditorium Ass’n, 277 U.S. 274, 288 (1928) (Article III “case or controversy”
exists if defendant “ha[s] wronged the plaintiff or ha[s] threatened to do so,” and
observing that federal courts “have long accepted [DJA] jurisdiction” where “the
plaintiff’s self-avoidance of imminent injury is coerced by threatened enforcement
action of a private party.”) (emphasis removed).

       Finally, Defendants’ venue arguments again ignore the Complaint’s facts.
Compare PML at 3 (“There is no close nexus to the Southern District of New York, and
therefore venue cannot be supported.”) (citing nothing) with Compl. ¶ 14 (Wentworth’s
“primary place of business is Manhattan”). Section 27 of the Exchange Act allows venue
in any district. See 15 U.S.C. § 78aa(a). Besides that securities-specific provision, 28
U.S.C. § 1391(b) also allows venue here in the Southern District, where “a substantial
part of the events or omissions giving rise to the claim occurred,” and where this
Action’s material witnesses live and work. Leroy v. Great Western United Corp., 443
U.S. 173, 185 (1979) (citing S. Rep. No. 1752, 89th Cong., 2d Sess. 3 (1966)) (Section 1391
allows venue in the district convenient for “the witnesses who are to testify in the
case.”). In fact, Defendants already have told the Court that all of this Action’s evidence
pertains to relationship between Manhattan-based Wentworth and Manhattan-based
Cabot. See Dkt. 12 at 4 § 5 (May 17, 2023). Finally, venue also is proper here because all
of Defendants’ Arbitration claims, and any potential federal Action counterclaims, arise
out of Defendants’ purposeful availment of New York-based services.

                                                Respectfully submitted,

                                                /s/ Kari Parks
                                                Kari Parks

CC: All counsel of record (via ECF)
